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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
Nancy Worley, et al.
                       Plaintiffs

               v.                                     CA No.1:12 CV 2069
                                                      Judge Royce C. Lamberth

The Islamic Republic of Iran, et al.
                    Defendants



                                         ORDER

       Upon consideration of the motion for Substitution of Proper Party as filed by

Plaintiff’s counsel, it is this ______day of ___, 2015, by the Court

       ORDERED, that the substitutions motion for are hereby GRANTED in favor of

Plaintiffs and the Estates therein.

                                              ______________________________
                                              Royce C. Lamberth
                                              United States District Judge
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